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   6
       Attorneys for Plaintiff
   7   SPACE EXPLORATION TECHNOLOGIES
       CORP.
   8

   9                             UNITED STATES DISTRICT COURT
  10                         CENTRAL DISTRICT OF CALIFORNIA
  11

  12 SPACE EXPLORATION                             Case No. 2:24-cv-01352-CBM-AGR
       TECHNOLOGIES CORP.,
  13                                               PLAINTIFF SPACEX’S NOTICE OF
                    Plaintiff,                     SOUTHERN DISTRICT OF TEXAS
  14                                               ORDER REQUESTING RETURN OF
             v.                                    TRANSFERRED CASE
  15
     NATIONAL LABOR RELATIONS
  16 BOARD, et al.,
  17                Defendants.
  18
         PLAINTIFF SPACEX’S NOTICE OF SOUTHERN DISTRICT OF TEXAS
  19
                                              ORDER
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             This Court held that it “lacks jurisdiction over this action” because the Fifth
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       Circuit stayed the transfer on February 19, 2024, before the case was docketed in the
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       Central District of California. See Dkt. No. 103. As a result, this Court stated that it
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       “shall return this action to the Southern District of Texas upon receipt of the request
  24
       to return the case from the Southern District of Texas as ordered by the Fifth
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       Circuit.” Id. at 2. Today, the Southern District of Texas issued an order requesting
  26
       the return of this case. Order, Space Exploration Technologies Corp. v. NLRB, 1:24-
  27
       cv-1, Dkt. No. 85 (March 1, 2024). Because that order does not appear to have been
  28
       made available to this Court, Plaintiff respectfully gives notice of the order and
                                                  1                Case No. 2:24-cv-01352-CBM-AGR
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   1   submits a copy as Exhibit A.
   2   Dated: March 1, 2024                  MORGAN, LEWIS & BOCKIUS LLP
   3

   4                                            By      /s/ Harry I. Johnson III
                                                          Harry I. Johnson III
   5
                                             Attorneys for Plaintiff
   6                                         Space Exploration Technologies Corp.

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